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                                                            June 11, 2025

VIA ECF

Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101
       Re:     Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        On Tuesday June 10, 2025, pursuant to the Court’s instruction, counsel for Mr. Khalil filed
with the Court a copy of all documents known to have been filed by Mr. Khalil and by U.S.
Immigration and Customs Enforcement with the Executive Office for Immigration Review
(“EOIR”) in connection with the removal case against Mr. Khalil. Counsel for Mr. Khalil also
provided notices, orders, and written rulings by the immigration judge. On June 11, 2025, Mr.
Khalil provided to the court a copy of the digital audio recording of the hearing held on May 22,
2025 in the immigration court.

                                                  Respectfully submitted,

                                                  /s/ Naz Ahmad

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